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                IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF DELAWARE
__________________________________________
In re:                                     )
                                           ) Chapter 11
GLOBAL EAGLE ENTERTAINMENT                 )
INC., et al.,1                             ) Case No. 20-11835 (JTD)
                                           )
                  Debtors.                 ) (Jointly Administered)
                                           )
__________________________________________)  Related Docket No. 428

    OBJECTION OF TELSTRA INCORPORATED TO THE SUPPLEMENTAL NOTICE
          OF POSSIBLE ASSUMPTION AND ASSIGNMENT OF CERTAIN
             EXECUTORY CONTRACTS AND UNEXPIRED LEASES

           Telstra Incorporated (“Telstra”), by and through its undersigned counsel, hereby objects

(the “Objection”) to the Supplemental Notice of Possible Assumption and Assignment of Certain

Executory Contracts and Unexpired Leases [Docket No. 428] (the “Cure Notice”),2 and in support

thereof states as follows:

                                                 BACKGROUND

           1.       On July 22, 2020 (the “Petition Date”), Global Eagle Entertainment Inc. and its

debtor affiliates (collectively, the “Debtors”), each filed a voluntary petition for relief under

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States

Bankruptcy Court for the District of Delaware (the “Court”), commencing the above-captioned

chapter 11 cases (the “Chapter 11 Cases”).



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   The Debtors in these jointly administered cases along with the last four digits of each Debtor’s federal tax
identification number are: Global Eagle Entertainment Inc. (7800), Airline Media Productions, Inc. (2314), Emerging
Markets Communications, LLC (0735), Entertainment in Motion, Inc. (3908), Global Eagle Entertainment Operations
Solutions, Inc. (3375), Global Eagle Services, LLC (7899), Global Eagle Telecom Licensing Subsidiary LLC (2547),
IFE Services (USA), Inc. (2120), Inflight Productions USA Inc. (8493), Maritime Telecommunications Network, Inc.
(9974), MTN Government Services, Inc. (6069), MTN International, Inc. (8559), MTN License Corp. (0314), N44HQ,
LLC (0570), Post Modern Edit, Inc. (6256), Row 44, Inc. (2959), and The Lab Aero, Inc. (9831). The Debtors’ address
is 6080 Center Drive, Suite 1200, Los Angeles, California 90045.
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    Capitalized terms that not defined herein have the meanings in the Cure Notice.
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       1.      On July 24, 2020, the Debtors filed the Bidding Procedures Motion.               On

August 19, 2020, the Court entered the Bidding Procedures Order [Docket No. 239], approving,

among other things, the Bidding Procedures, which establish key dates and times relating to the

Sale and the Auction, and the Assumption and Assignment Procedures.

       2.      Prior to the Petition Date, Telstra and debtor Emerging Market Communications,

LLC (“EMC”) were parties to that certain Global Services Agreement, effective as of

November 2, 2016, together with certain schedules thereto (the “Contract”).

       3.      On September 28, 2020, the Debtors filed the Cure Notice attaching a schedule of

executory contracts for potential assumption or assumption and assignment with proposed cure

costs (“Exhibit 1”). Included on Exhibit 1 is the Contract and proposed cure costs of $153,140.74.

See Cure Notice, Exhibit 1, p. 441.

       4.      The amounts set forth in the Cure Notice do not accurately reflect the total balances

owing under the Contract. Contrary to the Debtors’ Exhibit 1, as of the September 30, 2020, EMC

owed a total of $194,892.83 to Telstra under the Contract (the “Cure Obligations”). Of that

amount, $129,124.62 relates to prepetition periods and $65,768.21 relates to postpetition periods.

       5.      A summary of the Cure Obligations owed to Telstra through September 30, 2020

is annexed hereto as Exhibit A and additional documentation is available upon request to the

undersigned counsel.

       6.      For the avoidance of doubt, additional amounts continue to accrue under the

Contract, including, but not limited to interest and attorneys’ fees.




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                                          OBJECTION

       7.      Section 365 of the Bankruptcy Code provides in pertinent part:

                       (b)(1) If there has been a default in an executory contract or
               unexpired lease of the debtor, the trustee may not assume such
               contract or lease unless, at the time of assumption of such contract
               or lease the trustee –

                               (A) cures, or provides adequate assurance that the
               trustee will promptly cure, such default . . . .

       8.      Currently, the Debtors are in default of the terms of the Contract. Telstra disagrees

and objects to the Cure Amount as set forth on the Cure Notice. As of September 30, 2020, Telstra

is owed $194,892.83, plus interest, costs, and attorneys’ fees with respect to the Contract with

Debtor EMC.

       9.      The Debtors are required by the plain language of Bankruptcy Code section

365(b)(1)(A) to pay (or provide adequate assurance that they will promptly pay) the full cure

amount, including all amounts that may accrue through the date of any sale closing and contract

assumption or assignment.

       10.     The Contract and stated Cure Obligations represent the amounts currently due and

owing to Telstra under the Contract, however, this amount will likely continue to increase prior to

any actual date of assumption and assignment of the Contract. Accordingly, Telstra expressly

reserves the right to amend and/or supplement this Objection and the Cure Obligations from time

to time and at any time.

       11.     Therefore, Telstra objects to the Debtors’ proposed Cure Amount set forth in the

Cure Notice and respectfully requests that the Debtors be required to pay, upon any assumption or

assumption and assignment of the Contract, the total Cure Obligations and all outstanding

attorneys’ fees, costs, and other charges, as of the date of the assumption and/or assignment.




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                                  RESERVATION OF RIGHTS

       12.     Telstra reserves the right to supplement and/or amend this Objection from time to

time and at any time. Further, Telstra reserves any and all rights to raise any additional objections

with respect to the Sale Motion, including but not limited to: (i) any additional objections with

respect to any potential sale of the Debtors’ assets, including the Contract; (ii) any additional

objections with respect to any potential assumption and assignment of the Contract, on any and all

grounds under section 365 of the Bankruptcy Code or as otherwise may be available to Telstra,

including, but not limited to, sufficient adequate assurance of future performance of any buyer of

the Debtors’ assets and/or the assignability of the Contract; and/or (iii) any and all other objections

with respect to the relief requested in the Sale Motion and/or such relief that may subsequently be

sought by the Debtors to be granted pursuant to any order(s) granting the Sale Motion or otherwise,

as such requested relief relates to the Contract and/or the interests of Telstra.




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               WHEREFORE, based on the foregoing, (i) Telstra requests the entry of an order

prohibiting the assumption and/or assignment of the Contract unless all amounts owed under the

Contract are paid in accordance with Bankruptcy Code section 365, as of the date of the

assumption; and (ii) granting such further relief as the Court deems just and proper.


Dated: October 8, 2020                       WOMBLE BOND DICKINSON (US) LLP
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                                             -and-

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